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 1    Eric C. Rassbach (CA SBN 288041)
 2    Mark L. Rienzi (DC Bar No. 494336)*
 2    Laura Wolk Slavis (DC Bar No. 1643193)*
 3    Jordan T. Varberg (DC Bar No. 90022889)*
 3
 4    Amanda G. Dixon (DC Bar No. 90021498)*
 4    Richard C. Osborne (DC Bar No. 90024046)*
 5    The Becket Fund for Religious Liberty
 5    1919 Pennsylvania Ave. NW, Suite 400
 6
 6    Washington, DC 20006
 7
      202-955-0095 tel. / 202-955-0090 fax
 7
 8    erassbach@becketlaw.org
 9
 8    Paul D. Clement (DC Bar No. 433215)*
      Erin E. Murphy (DC Bar No. 995953)*
10
 9    Matthew D. Rowen (CA SBN 292292)
11    Clement & Murphy, PLLC
10    706 Duke Street
12
11    Alexandria, VA 22314
13
     Attorneys for Plaintiffs
12
14
                      UNITED STATES DISTRICT COURT
13
15                   CENTRAL DISTRICT OF CALIFORNIA
16
14
      YITZCHOK FRANKEL et al.,                         Case No.: 2:24-cv-4702-
17                                                     MCS
15         Plaintiffs,
18
16    v.
19
      REGENTS OF THE UNIVERSITY OF
17                                                     PLAINTIFFS’ REPLY IN
20    CALIFORNIA et al.,                               SUPPORT OF MOTION
18
21         Defendants.                                 FOR PRELIMINARY
                                                       INJUNCTION
19
22
23
20                                                     Date: July 29, 2024
24                                                     Time: 9:00 a.m.
21                                                     Courtroom: 7C
25                                                     Judge: Hon. Mark C. Scarsi
22
26
23
27
28

      * admitted pro hac vice
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 1                              INTRODUCTION
 2      UCLA’s    numerous     concessions     make   resolving   this   motion
 3   straightforward. UCLA does not deny that Plaintiffs and other Jews in
 4   the UCLA community have been systematically excluded from UCLA
 5   educational facilities, programs, and other parts of campus because they
 6   are Jews and because they refuse to denounce the one Jewish nation on
 7   Earth. UCLA does not deny that Plaintiffs have been harmed (PI.Mem.9-
 8   14), that they engage in sincere exercises of their Jewish faith
 9   (PI.Mem.17), or that they have been excluded precisely because of their
10   Judaism (PI.Mem.16-17) and viewpoints (PI.Mem.20-21). UCLA does not
11   deny that it did nothing to protect Plaintiffs from harassment and threats
12   hindering Plaintiffs’ ability to attend class (PI.Mem.11-14), take exams
13   (PI.Mem.14), or go to the library (PI.Mem.12). Nor does UCLA deny that
14   it hired the security guards who enforced Jew Exclusion Zones
15   (PI.Mem.4) or that it instructed those personnel not to help Jews access
16   campus (PI.Mem.5) but instead to send students away unless approved
17   by the activists (PI.Mem.5).
18      Worse yet, UCLA now openly admits that UCLA itself erected the
19   physical barricades (UCLA.Mem.3) that excluded Jews from the heart of
20   campus. Nor does it deny that it follows the Robinson-Edley
21   recommendations, which UCLA interprets as prohibiting calling law
22   enforcement “preemptively” unless “absolutely necessary.” (PI.Mem.5;
23   Shemuelian Ex.11).
24      UCLA likewise does not deny that Plaintiffs have faced antisemitism
25   that constitutes discrimination on the basis of religion, race, national
26   origin, and viewpoint, or that the pervasive discrimination on campus
27   has impeded their constitutional and statutory rights. That is no
28
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 1   surprise; the treatment to which Plaintiffs and other Jewish students
 2   and faculty members have been subjected is, in a word, indefensible.
 3      Yet despite conceding Plaintiffs’ horrible mistreatment, UCLA says
 4   this Court is powerless to do anything about it. In UCLA’s telling, the
 5   venomous state of affairs on its campus is both not its fault and unlikely
 6   to continue. But those blithe assurances are no substitute for injunctive
 7   relief and cannot be squared with reality. Faced with Plaintiffs’
 8   painstakingly detailed (and painfully recounted) narration of what
 9   actually transpired on its campus, UCLA simply ignores the many
10   dreadful facts that disprove its rosy account. But the discrimination
11   Plaintiffs have suffered to date is no isolated incident, and UCLA has
12   been no mere bystander. Rather than protect Plaintiffs, UCLA has not
13   just failed in its duties to protect students and ensure non-discriminatory
14   access, but has also affirmatively participated in the deprivation of their
15   rights. The only real way to ensure that Plaintiffs’ rights do not continue
16   to be violated when they return to campus next month is for this Court
17   to order UCLA to cease its discrimination against Jewish students and
18   proactively protect them from antisemites.
19                                 ARGUMENT
20   I. Plaintiffs are likely to succeed on the merits.
21      UCLA quickly retreats to technical defenses precisely because UCLA
22   does not (and cannot) deny that Plaintiffs have experienced rampant
23   discrimination on its campus. UCLA instead just insists that it is not its
24   fault, and that the only “acts that can be attributed to UCLA” are lawful.
25   UCLA.Mem.13. UCLA is wrong on both counts.
26      First, the “crux” of Plaintiffs’ motion is not, as UCLA claims, that “the
27   Royce Quad encampment” in April and May “injured Plaintiffs.”
28
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 1   UCLA.Mem.13. It is that UCLA itself has injured Plaintiffs by actively
 2   facilitating that and other discriminatory activity. That is why Plaintiffs
 3   sued UCLA. UCLA did not just stand idly by as antisemitic activists took
 4   over its campus, harassed Jews and demanded denunciations of Israel to
 5   access key parts of campus. PI.Mem.4, 9-14. UCLA took action—and it
 6   chose to protect the perpetrators rather than the victims. It affirmatively
 7   erected barricades to protect the encampments, UCLA.Mem.3, and hired
 8   extra security to reinforce those zones and protect the activists, Ghayoum
 9   ¶¶35-36, all while instructing security not to intervene to assist Jewish
10   students and faculty facing threatened and sometimes actual violence
11   and blocked from accessing campus. Frankel ¶¶32-35, 39-42; Ghayoum
12   ¶¶35-45 Shemuelian ¶¶105-10; Shamsa Declaration ¶¶8-10.
13      And as much as UCLA wants to make this case solely about the
14   appalling events of April and May, those events are just an especially
15   vivid illustration of a more persistent problem. UCLA has long failed to
16   protect Jewish students from harassment and threats while they do basic
17   things like attend class and take exams. Shemuelian ¶¶24-36, 44-45, 82-
18   86, 98, 113, 121-39. Furthermore, antisemitic activists set up an
19   encampment on June 10 and attacked UCLA’s Chabad rabbi. PI.Mem.9
20   & n.3. Yet, once again, UCLA affirmatively refused to provide protection:
21   The rabbi “sought assistance from nearby police” but “was told ‘our main
22   concern is the crowd control.’” PI.Mem.9 & n.4. And he was not alone;
23   others likewise sought help from campus police, only to be told that they
24   were unable to intervene (while simultaneously protecting the
25   antisemitic activists). See, e.g., Shamsa ¶¶6-10 (describing “firsthand”
26   “experience[ ]” with “UCLA’s failure to protect … Jewish faculty and
27   students … even from direct violence”). UCLA has thus shown that it
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 1   very much has a policy, and an unconstitutional one at that: When
 2   activists discriminate against and threaten Jews, UCLA protects the
 3   activists, not their Jewish victims.
 4      UCLA nowhere denies that it affirmatively “instructed police not to
 5   interfere as Plaintiffs’ rights were being trampled on, and even stationed
 6   security staff to reinforce the racial and religious segregation and
 7   discrimination.” PI.Mem.22. Indeed, it nowhere denies any of Plaintiffs’
 8   allegations showing “that UCLA facilitated or supported discrimination
 9   and harassment.” UCLA.Mem.15. UCLA’s detour into deliberate
10   indifference is therefore irrelevant, as Plaintiffs absolutely “allege that
11   UCLA intentionally singled out Jewish students for unfavorable
12   treatment.” UCLA.Mem.16. When a state actor instructs its security
13   force to protect antisemitic activists but leave the Jews they are
14   terrorizing to fend for themselves, it goes far beyond “failing to take
15   action” to prevent discrimination. UCLA.Mem.14. UCLA took action and
16   its actions actively facilitated efforts to condition access to its educational
17   facilities and opportunities on denouncing one’s faith and heritage. That
18   is about as clear-cut as constitutional and Title VI violations come.
19      UCLA denies having an affirmative practice or “policy” of protecting
20   the activists first and their victims (if at all) only as a last resort.
21   UCLA.Mem.10. But the Robinson-Edley Report refutes that claim.
22   Administrators are instructed not to even “consider engaging the campus
23   police” until after they have “give[n] protesters the opportunity to leave”
24   and “determined” that the protest activity is causing “a significant
25   interference with their campus’ academic mission.” Dkt.62-6 at 49
26   (Robinson-Edley Report). Involving law enforcement to assist victims is
27   a last resort: “The campus Administration should make every reasonable
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 1   effort to engage demonstrators in a dialogue that addresses the substance
 2   of the demonstrators’ concerns and aims, with the goal of de-escalating
 3   any situation such that police involvement becomes unnecessary.” Id. at
 4   70-71. That is why UCLA told the community (and Chancellor Block told
 5   Congress) that UC “systemwide policy guidance” requires UCLA “not to
 6   request law enforcement involvement preemptively,” but “only if
 7   absolutely necessary to protect the physical safety of our campus
 8   community.”      Shemuelian      Ex.11     (emphasis     added);    contra
 9   UCLA.Mem.10.
10      It is no wonder, then, that Plaintiffs continue to fear for their on-
11   campus safety, and have made the difficult decision to “refrain from
12   several activities” in which they “would otherwise participate” in the new
13   school year. Frankel Reply Declaration ¶3; Shemuelian Reply
14   Declaration ¶3. UCLA avowedly will not step in on their behalf unless
15   and until things become so extreme as to pose a threat to the physical
16   safety of the community—which, judging by the school’s actions to date,
17   apparently means the whole community, not the Jewish community
18   whose physical safety activists have unapologetically threatened at every
19   opportunity.
20      Moreover, even were it merely a question of deliberate indifference,
21   the result would be the same, as UCLA’s “response to the harassment”
22   confirms that UCLA was “clearly unreasonable in light of the known
23   circumstances.” Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 648
24   (1999). As UCLA well knew, myriad “educational facilities” on campus
25   “were open only to those willing to denounce Israel and eschew wearing
26   visible Jewish garb[.]” PI.Mem.16; see Frankel ¶¶11, 23-25, 28-42;
27   Ghayoum ¶¶10-11, 34-48, 56-57; Shemuelian ¶¶10, 100-20, 125-30;
28
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 1   Rassbach Ex.22. To say that “UCLA’s actions neither suppressed nor
 2   coerced speech,” UCLA.Mem.16, is thus bizarre. Had UCLA protected its
 3   Jewish community members, rather than the activists calling for their
 4   death, being Jewish would not have been a safety concern, and Plaintiffs
 5   would not have been forced to choose between denouncing the only
 6   Jewish nation and accessing campus.
 7      Instead of taking immediate action to protect and restore access to
 8   Jewish students, UCLA compounded the problem by not only protecting
 9   the perpetrators of the discrimination, but instructing its security not to
10   intervene to protect Jews. And that was no isolated incident; the school
11   has repeatedly and persistently proven deaf to the pleas of Plaintiffs and
12   other Jews begging for UCLA’s protection. Even Chancellor Block
13   admitted that the encampments left students “physically blocked from
14   accessing parts of the campus” and caused many in the community,
15   “especially our Jewish students,” to live “in a state of anxiety and fear.”
16   Shemuelian Ex.15. Yet UCLA chose to protect those spewing (and
17   sometimes acting on) antisemitic threats, but not Jews. If that is not
18   deliberate indifference, it is difficult to imagine what is.
19      UCLA’s half-hearted narrow-tailoring argument fares no better. Of
20   course promoting public safety is a compelling interest. UCLA.Mem.17-
21   18. But that interest cannot override the Constitution’s core commands.
22   See Roman Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 20-21
23   (2020). “Government is not free to disregard the First Amendment in
24   times of crisis.” Id. at 21 (Gorsuch, J., concurring). And it certainly cannot
25   protect the public safety of only one side of a debate, let alone the side
26   that is behaving lawlessly. Indeed, UCLA does not even try to explain
27   how responding to a public safety risk by instructing campus security not
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  1   to protect the targets could possibly satisfy “the most demanding test
  2   known to constitutional law.” City of Boerne v. Flores, 521 U.S. 507, 534
  3   (1997). Plaintiffs have thus shown far more than a likelihood that their
  4   constitutional and statutory claims will succeed.
  5   II. UCLA’s attempts to deny Plaintiffs’ need for and entitlement
  6       to injunctive relief blink reality and misstate the law.
        With little to say about the merits, UCLA insists instead that
  7
      Plaintiffs have neither standing nor need to seek injunctive relief. That
  8
      argument blinks reality.
  9
        A. Plaintiffs have standing to seek prospective relief and face
10
           irreparable harm.
11
        UCLA does not and cannot deny that Plaintiffs have sufficiently
12
      alleged past injuries that are traceable to UCLA and redressable by
13
      damages; they only seek to show that Plaintiffs lack standing to seek
14
      prospective relief. See UCLA.Mem.8-12. UCLA thus insists that the
15
      concrete harms Plaintiffs have already suffered are “largely irrelevant”
16
      to whether they face any continuing risk of future injury. UCLA.Mem.8
17
      (quoting Nelsen v. King Cnty., 895 F.2d 1248, 1251 (9th Cir. 1990)).
18
      UCLA’s premise and conclusion are both wrong.
19
        To be sure, a plaintiff seeking “a prospective remedy” must establish
20
      “an ‘actual and imminent, not conjectural or hypothetical’ threat of future
21
      harm.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967-69 (9th Cir.
22
      2018) (quoting Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009)).
23
      And a plaintiff seeking injunctive relief must demonstrate a “sufficient
24
      likelihood that he will again be wronged.” Id. (quoting City of L.A. v.
25
      Lyons, 461 U.S. 95, 111 (1983)); see also id. at 971 n.7. But “[p]ast wrongs,
26
      though insufficient by themselves to grant standing, are ‘evidence
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      bearing on whether there is a real and immediate threat of repeated
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  1   injury.’” Id. at 967 (quoting Lyons, 461 U.S. at 102). Indeed, past exposure
  2   to harmful conduct justifies injunctive relief when (as here) it continues
  3   to cause adverse effects. See Index Newspapers LLC v. United States
  4   Marshals Serv., 977 F.3d 817, 825-26 (9th Cir. 2020). And “the possibility
  5   of recurring injury ceases to be speculative when actual repeated
  6   incidents are documented.” Id. at 826. Moreover, where government
  7   action “implicates First Amendment rights, the inquiry tilts dramatically
  8   toward a finding of standing” to seek preliminary injunctive relief. LSO,
  9   Ltd. v. Stroh, 205 F.3d 1146, 1155 (9th Cir. 2000). The harms Plaintiffs
10    have already suffered thus cannot be waved away, as they are what
11    makes it so glaringly obvious that Plaintiffs’ injuries are no mere thing
12    of the past.1
13        Unable to deny those harms, UCLA assures this Court that they will
14    not recur. As evidence, UCLA claims that, after the encampments
15    initially appeared in April, it took “decisive action” when activists
16    returned and has “prevented” further discriminatory incursions “[s]ince
17    early May.” UCLA.Mem.8-9. That is revisionist history in the extreme.
18    Contra UCLA.Mem.5, activists did not just “attempt[ ]” to establish
19
20
      1  As Kimberly-Clark, Index Newspapers, and other cases show, the
21    supposedly contrary authority UCLA cites (i.e., Nelsen) does not mean
22    what UCLA says it does. Nelsen “does not control here because it dealt
      with a situation ‘where the litigant’s claim relie[d] upon a chain of
23
      speculative contingencies … that include[d] the violation of an
24    unchallenged law.’” LSO, 205 F.3d at 1156 n.10 (as in original) (quoting
25    Nelsen, 895 F.2d at 1252). Furthermore, in deciding “at this stage of the
      proceedings” whether plaintiffs have “standing to pursue injunctive
26    relief,” courts are “required … to presume the truth of [plaintiffs’]
27    allegations” and “construe [them] in [plaintiffs’] favor.” Kimberly-Clark,
      889 F.3d at 971-72.
28
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  1   another encampment on May 23, and they did not quickly “disperse[ ]”
  2   after being told they would face discipline. Instead, as Defendants said
  3   at the time, the activists again succeeded in “erecting barricades,
  4   establishing fortifications, and blocking access to parts of the campus and
  5   buildings”—and UCLA again held law enforcement back as multiple
  6   requests to disperse went unheeded. Shemuelian Exs.25-26 (UCLA
  7   campus communications).
  8       On June 10, activists again “set up an unauthorized and unlawful
  9   encampment with tents, canopies, wooden shields, and water-filled
10    barriers,” and again “restricted access” to university facilities. PI.Mem.8-
11    9 (quoting Rassbach Ex.21). UCLA reduces the June 10 melee to a single,
12    self-congratulatory sentence and trumpets its response as evidence that
13    Plaintiffs have nothing to fear when they return to school. UCLA.Mem.5.
14    But UCLA did not “call[ ] law enforcement immediately” in response to
15    the June 10 activity. UCLA.Mem.5. Instead, as UCLA has acknowledged
16    publicly, things came to a head “around 3:15 p.m.” and persisted
17    “[t]hroughout the evening”—and, “as a result,” “some students ‘miss[ed]
18    finals because they were blocked from entering classrooms,’ while others
19    were ‘evacuated in the middle of’ their exams.” PI.Mem.9; Shemuelian
20    Ex.27. Indeed, the violence was so severe that the Vice Chancellor had to
21    be escorted out with armed security. Frankel Reply Decl. ¶10. 2
22        In short, the initial April encampment was no one-off, and UCLA was
23    no helpless bystander. It is little surprise, then, that Plaintiffs still do not
24    “feel safe walking around campus.” Shemuelian Reply Decl. ¶6. UCLA’s
25
26    2  See @susancollinsla, Instagram (June 11, 2024), tinyurl.com/bp399kce
27    (video of activists mobbing Vice Chancellor Beck and shouting, “you’re
      not safe”).
28
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  1   blithe assurance that Plaintiffs need not fear that they “will again be
  2   involved in one of those unfortunate instances,” UCLA.Mem.9 (quoting
  3   Lyons, 461 U.S. at 108), ignores everything they have personally
  4   experienced. And though summer is quieter on campus, nothing in the
  5   actions of the activists (PI.Mem.8-9; Rassbach Exs.15-16) or the
  6   university provides any serious reason to doubt that the cycle will resume
  7   once school does. To the contrary, UCLA all but concedes that it will,
  8   making the remarkable claim that Plaintiffs should expect to be “exposed”
  9   to the kinds of harassment they have faced “on a public university
10    campus, where the First Amendment applies.” UCLA.Mem.9.3
11        Worse still, UCLA expressly holds out the prospect that it could again
12    “cho[o]se to try to de-escalate the situation by allowing the protest to
13    continue,” because there was nothing wrong with de-escalation the first
14    go-round. UCLA.Mem.15. This threat alone justifies injunctive relief. See
15    Diocese of Brooklyn, 592 U.S. at 20 (“injunctive relief is still called for
16    because the applicants remain under a constant threat that the area in
17    question will be reclassified.”).
18        B. The public interest and balance of equities favor Plaintiffs.
19        UCLA does not (and cannot) deny that “‘rais[ing] serious First
20    Amendment questions’ … alone ‘compels a finding that the balance of
21    hardships tips sharply in [plaintiffs’] favor,’” Fellowship of Christian
22    Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 695
23    (9th Cir. 2023) (en banc), or that “it is always in the public interest to
24
25
      3  UCLA elsewhere admits that the activists’ actions were not protected
26    speech, but “unauthorized,” “unlawful,” and “not peaceful,” Shemuelian
27    Exs. 15, 19, 26-27, and involved harassment and assault, UCLA.Mem.9.
      Cf. Dkt.62-6 at 26 (“civil disobedience” not “protected speech”).
28
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  1   prevent the violation of a party’s constitutional rights,” Melendres v.
  2   Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012). Since its policies and practices
  3   continue to violate Plaintiffs’ constitutional rights and subject Plaintiffs
  4   to discriminatory treatment—and since Plaintiffs have every reason to
  5   fear that, absent injunctive relief, the discriminatory treatment will
  6   continue in the fall—the balance of equities and the public interest
  7   strongly support granting a preliminary injunction.
  8     C. Plaintiffs’ requested injunction complies with Rule 65.
  9     Finally, UCLA’s objections to the requested injunction’s metes and
10    bounds misstate the law and misrepresent Plaintiffs’ position. Of course
11    a federal court can order a public university to provide Jewish students
12    with equal access and treatment in university programs. The
13    complexities of running a university hardly make it “vague” or
14    “inadministrable” to order that university to treat Jews equally
15    UCLA.Mem.21. In fact, Plaintiffs’ requested injunction explicitly
16    recognizes that UCLA should be ordered to provide a remediation plan to
17    achieve that constitutionally-required end. Dkt.48-76. UCLA’s continued
18    refusal to acknowledge that it can and must meet the basic requirements
19    of the Constitution simply confirms that Plaintiffs have every reason to
20    fear for their safety when they return to campus in a few short weeks,
21    and that the only thing that can ensure that the unconstitutional and
22    unlawful acts visited upon Plaintiffs and other Jews over the past year
23    do not recur is an order from this Court instructing UCLA to cease its
24    ongoing discrimination against Jewish students.
25                                 CONCLUSION
26      The Court should grant Plaintiffs’ requested injunction.
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  1   Dated: July 15, 2024       Respectfully submitted,
  2
                                  /s/ Eric C. Rassbach
  3                               Eric C. Rassbach (CA SBN 288041)
                                  Mark L. Rienzi (DC Bar No. 494336)*
  4
                                  Laura Wolk Slavis (DC Bar No. 1643193)*
  5                               Jordan T. Varberg (DC Bar No. 90022889)*
  6                               Amanda G. Dixon (DC Bar No. 90021498)*
                                  Richard C. Osborne (DC Bar No. 90024046)*
  7                               The Becket Fund for Religious Liberty
  8                               1919 Pennsylvania Ave. NW, Suite 400
                                  Washington, DC 20006
  9
                                  202-955-0095 tel. / 202-955-0090 fax
10                                erassbach@becketlaw.org
11
                                  Paul D. Clement (DC Bar No. 433215)*
12                                Erin E. Murphy (DC Bar No. 995953)*
13                                Matthew D. Rowen (CA SBN 292292)
                                  Clement & Murphy, PLLC
14                                706 Duke Street
15                                Alexandria, VA 22314
16                                Attorneys for Plaintiffs
17                                * admitted pro hac vice
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  1                      CERTIFICATE OF COMPLIANCE
  2     Undersigned counsel of record for Plaintiffs certifies that this brief
  3   contains 2,998 words, which complies with this Court’s word limit for
  4   reply memoranda.
  5
  6   Dated: July 15, 2024
  7                                              /s/ Eric C. Rassbach
  8                                              Eric C. Rassbach

  9                                              Counsel for Plaintiffs

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